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Holdings Ltd.

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Transfer of Copyright and Common Law Copyright Rights

Whereas, Fraserside Holdings Limited (Seller), a corporation organized under the laws of Cyprus, located
and doing business at Office 1002, 10" Floor, Nicolaou Pentadromos Centre, Thessalonikis Street, 3025
Limassol, Cyprus, is the owner of the following U.S. Copyrights, listed below, are registered in the United
States (collectively the "Copyrights");

Whereas, FraserSide IP LLC (Buyer), a Limited Liability Company organized under the laws of the State of
lowa, doing business at 837 Central Avenue, Northwood, lowa; and

Whereas Fraserside Holdings Limited desires to transfer and FraserSide IP LLC desires to acquire all of
Assignor’s rights in and to the United States Copyrights, common law copyrights and the goodwill
symbolized thereby;

NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, Seller hereby sells, assigns, transfers and conveys ta Buyer ail of its right, title, and
interest in and to the Copyrights, together with the goodwill of the business associated with the
Copyrights, the same to be held and enjoyed by Buyer, its successors, assigns, and other legal
representatives.

Seller further conveys to Buyer all right to sue for and receive all damages accruing from past
infringements of the Copyrights herein assigned.

Seller represents it is the legal owner of ail right, title and interest in and to the Copyrights and has the
right to sell the Copyrights and that there are no pending legal proceedings impairing the transferability
of the Copyrights.

These Assignments shall be binding upon the parties, their successors and/or assigns, and ail others
acting by, through, with or under their direction, and all those in privity therewith.

The parties agree to take any further action and execute any documents required to effect the purposes
of this Assignment.

Fraserside Holdings Limited FraserSide IP LLC
BY: toa. BY: ) Vey

‘ . 7 ‘
Title: DIRECTOR Title: ADTRCRIZe D sréevaArToRY
Dated: 12/08/2010 Dated: 12/08/2010

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Transfer of Copyright and Common Law Copyright Rights www.prvi.com 1ofS

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Titie

A Taste of Pleasure
Anai Freedom

Anal Lolitas

ALL YOU NEED IS SEX
ANAL FREEDOM

ANAL LOLITAS

ANAL MERMAIDS

ART CORE

BEAUTIES IN THE TROPIX
BILLIONAIRE

CANNES

CARIBBEAN DREAM
CARIBBEAN VACATION
CLEOPATRA

COMING OF AGE
‘DANGEROUS CURVES
DANGEROUS THINGS
DANGEROUS THINGS 2
DOMINATRIX CHESS GAMBIT
FATAL ORCHID 2
FORBIDDEN GAMES
FROM BEHIND 1S OK
GIRLS OF DESIRE

GLADIATOR

GLADIATOR II - IN THE CITY OF LUST

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PA0001674266
PAGN01670894
PA0001670900
PAQ001674266
PA0001670894
PAGO01670905
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Transfer of Copyright and Common Law Copyright Rights

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GLADIATOR Ill - SEXUAL CONQUEST

GUNS AND ROUGH SEX
HOUSE OF LOVE

IBIZA SEX PARTY 5
LADY OF THE RINGS
LUST TREASURES NO 5
LUST TREASURES NO 8
LUST TREASURES NO 9
MILLIONAIRE

MILLIONAIRE Il

OPEN INVITATION: A REAL SWINGERS.PARTY IN SAN FRANCISCO PA0001689245 Fraserside Holdings

Limited
OPEN LEGS OPEN MINDS
PAINTBALL WARRIORS

PARADISE ISLAND

PAQO01674245
PAQO01670901
PA00G1675697
PA0001674244

PA0001673381

PA0001674243.

PA0GO16 74247

PA0001674248

PAQ001674271

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PAQO001677513

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PIRATE FETISH MACHINE - THE FETISH GARDEN PA0001674498 Fraserside Holdings Limited

PORN WARS

PORNOLYMPICS

PRIVATE LIFE OF ANGELIKA

PRIVATE LIFE OF JENNIFER LOVE VOL 2
PRIVATE LIFE OF MANDY BRIGHT
PRIVATE STORIES 14 - SEX DREAM

PRIVATE STORIES 15 - FOREST NYMPH

PRIVATE STORIES 3

PRIVATE STORIES 4

PRIVATE STORIES 5

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PA0001690102
PAQ001690101
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PAQ001674481
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Transfer of Copyright and Common Law Copyright Rights

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PRIVATE STORIES 6

PRIVATE STORIES 9 - BLUE GIRLS
PRIVATE STORY OF BOBBI EDEN
PRIVATE STORY OF SARAH O'NEAL
PSYCHOPORN

SEX & REVENGE

SEX & REVENGE 2

SEX REBELS

SEX THRILLER

SEX, LIES & INTERNET

SEX, LUST & VIDEO-TAPES (PRIVATE XXX)

SEXY BUSINESS

SPREAD MY LIPS

TASTE OF PLEASURE

TENERIFE

THE SEX BUS

TOP SEX

TOTAL DESIRE

TROPICAL HEAT

TROPICAL TWINS

TWO COCKS IN THE SAME HOLE (PRIVATE SPECIAL EDITION 17}

WHAT WET BITCHES!
WHORES LOVE TO SWALLOW
WITCH BITCH

WITHOUT LIMITS

WITHOUT LIMITS 2

PAQ000792715

PAGO01674476

PA0001674274

PA0001674275

PA0001670904

PA0001673421

PAQ00T674465

PAQ001675398

PA0001673428

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Transfer of Copyright and Camman Law Copyright Rights

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XXX - CHAIN REACTION PA0001674566 Fraserside Holdings Limited
XXX 08 PAON001674472 fFraserside Holdings Limited
XXX 09 PAQO001674469 Fraserside Holdings Limited
XXX 18 - WET DREAMS PA0001674270 Fraserside Holdings Limited
XXX NO 10 - PAG001674484 Fraserside Holdings Limited
XMX NO 11 - HIGH LEVEL SEX PA0001674495 Fraserside Holdings Limited
YOK NO 15 PAD001674474 Fraserside Holdings Limited
XXX NO 1? - SEX KITTENS PAG001674467 Fraserside Holdings Limited
YOUR TIME IS UP PA0001674269 Fraserside Holdings Limited

With my signature affixed below, I, Jason Tucker, an authorized representative of Fraserside
IP LLC, declare under penaity of perjury that this information and accompanying documents
are a true and correct copy of the original decumeni Executed on

oo

Jason Simon Tucker

Email: JTucker@private.com

Transfer of Copyright and Common Law Copyright Rights Sof5

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